                Case 2:15-cr-00069-RMP                    ECF No. 151                filed 08/30/16        PageID.586 Page 1 of 7
 2$2%       5HY  -XGJPHQWLQD&ULPLQDO&DVH
                6KHHW5HYLVHGE\:$('
                                                                                                                                             FILED IN THE

                                              81,7('67$7(6',675,&7&2857
                                                                                                                                         U.S. DISTRICT COURT
                                                                                                                                   EASTERN DISTRICT OF WASHINGTON



                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ                                                 Aug 30, 2016
           81,7('67$7(62)$0(5,&$                                           JUDGMENT IN A CRIMINAL CASE                               SEAN F. MCAVOY, CLERK

                      V.
                                                                             &DVH1XPEHU           2:15CR00069-RMP-2
            JOSE J MANJARES MARMOLEJO
                                                                             8601XPEHU            17857-085

                                                                                    Peter Steven Schweda
                                                                             'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     1 of the Information Superseding Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                             Nature of Offense                                                                       Offense Ended Count
21 U.S.C. §§ 841(a)(1), (b)(1)(C)         Conspiracy to Distribute a Mixture or Substance Containing a Detectable Amount                07/01/15    1s
   and 846                                of Methamphetamine




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                       7        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G                original Indictment                      ✔ LV
                                                           G           G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               8/30/2016
                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                                    RI,PSRVLWLRQRI-XGJPHQW




                                                             6LJQDWXUHRI-XGJH
                                                                    W     I- G




                                                             Honorable Rosanna Malouf Peterson                    Judge, U.S. District Court
                                                             1DPHDQG7LWOHRI-XGJH
                                                             


                                                                                                    8/30/2016
                                                             'DWH
                                                             
              Case 2:15-cr-00069-RMP                   ECF No. 151             filed 08/30/16       PageID.587 Page 2 of 7
$2%    5HY -XGJPHQWLQ&ULPLQDO&DVH
           6KHHW²,PSULVRQPHQW

                                                                                                         -XGJPHQW²3DJH   2       RI   7
'()(1'$17 JOSE J MANJARES MARMOLEJO
&$6(180%(5 2:15CR00069-RMP-2


                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI        57 month(s)




   ✔ 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
   G
 The Court recommends defendant serve his sentence at FCI Sheridan, to allow visits from family and friends, if he is eligible pursuant to
 U.S. Bureau of Prisons guidelines.


   ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
   G

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
       G     DW                                      G DP     G SP          RQ                                             

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
       G     EHIRUHSPRQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                      81,7('67$7(60$56+$/


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                                                                                                   '(387<81,7('67$7(60$56+$/
                Case 2:15-cr-00069-RMP                   ECF No. 151            filed 08/30/16         PageID.588 Page 3 of 7
$2%      5HY -XGJPHQWLQD&ULPLQDO&DVH
             6KHHW²6XSHUYLVHG5HOHDVH

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                                                                                                                -XGJPHQW²3DJH             RI
'()(1'$17 JOSE J MANJARES MARMOLEJO
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                                                          SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI                 5 year(s)




7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQDVZHOODVZLWKDQ\VSHFLDOFRQGLWLRQVRIVXSHUYLVLRQVHWIRUWKEHORZ
                                          STANDARD CONDITIONS OF SUPERVISION

       7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH

      7KH GHIHQGDQW VKDOO QRW XQODZIXOO\ SRVVHVV D FRQWUROOHG VXEVWDQFH 7KH GHIHQGDQW VKDOO UHIUDLQ IURP DQ\ XQODZIXO XVH RI D
       FRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVW
       ZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW

           *  7KH DERYH GUXJ WHVWLQJ LV VXVSHQGHG EDVHG RQ WKH FRXUW¶V GHWHUPLQDWLRQ WKDW WKH GHIHQGDQW SRVHV D ORZ ULVN RI IXWXUH
           VXEVWDQFHDEXVH &KHFNLIDSSOLFDEOH

        ✔7KHGHIHQGDQWPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ
       *
         LHDQ\WKLQJWKDWZDVGHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQ
        VXFKDVQXQFKDNXVRUWDVHUV  &KHFNLIDSSOLFDEOH

          ✔7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU &KHFNLIDSSOLFDEOHVHH 
           *
           86&  D G DOO IHORQLHV FULPHV XQGHU &K $ FULPHV RI YLROHQFH DQG DWWHPSWV RU FRQVSLUDF\ WR FRPPLW WKHVH
           FULPHV 
       * 7KH GHIHQGDQW VKDOO FRPSO\ ZLWK WKH UHTXLUHPHQWV RI WKH 6H[ 2IIHQGHU 5HJLVWUDWLRQ DQG 1RWLILFDWLRQ $FW  86& 
         HW VHT  DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU WKH %XUHDX RI 3ULVRQV RU DQ\ VWDWH VH[ RIIHQGHU UHJLVWUDWLRQ DJHQF\ LQ
        ZKLFKKHRUVKHUHVLGHVZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH &KHFNLIDSSOLFDEOH

        *  7KH GHIHQGDQW VKDOO SDUWLFLSDWH LQ DQ DSSURYHG SURJUDP IRU GRPHVWLF YLROHQFH LI RQH H[LVWV ZLWKLQ D PLOH UDGLXV RI
         GHIHQGDQW¶V OHJDO UHVLGHQFH &KHFN LI DSSOLFDEOHVHH  86&   G  IRU GHIHQGDQWV FRQYLFWHG RI D GRPHVWLF YLROHQFH
         FULPHGHILQHGLQ E 

       ,IWKLVMXGJPHQWLPSRVHVUHVWLWXWLRQDILQHRUVSHFLDODVVHVVPHQWLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\
        LQDFFRUGDQFHZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW7KHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\
        PDWHULDOFKDQJHLQWKHGHIHQGDQW¶VHFRQRPLFFLUFXPVWDQFHVWKDWPLJKWDIIHFWWKHGHIHQGDQW¶VDELOLW\WRSD\DQ\XQSDLGDPRXQW
        RIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV

       7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUHKHRUVKHLVDXWKRUL]HGWRUHVLGHZLWKLQ
        KRXUVRIUHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHUWHOOVWKHGHIHQGDQWWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFH
        RUZLWKLQDGLIIHUHQWWLPHIUDPH

       $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFHWKHGHIHQGDQWZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU
        DERXWKRZDQGZKHQWRUHSRUWWRWKHSUREDWLRQRIILFHUDQGWKHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG

      7KHGHIHQGDQWPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUHKHRUVKHLVDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJ
        SHUPLVVLRQIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU
              Case 2:15-cr-00069-RMP                    ECF No. 151            filed 08/30/16           PageID.589 Page 4 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW$²6XSHUYLVHG5HOHDVH

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                                                                                                                -XGJPHQW²3DJH              RI
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                               STANDARD CONDITIONS OF SUPERVISION &RQWLQXHG
       7KHGHIHQGDQWPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\WKHSUREDWLRQRIILFHU

       7KHGHIHQGDQWPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,IWKHGHIHQGDQWSODQVWRFKDQJHZKHUHKHRUVKHOLYHV
         RUDQ\WKLQJDERXWKLVRUKHUOLYLQJDUUDQJHPHQWV VXFKDVWKHSHRSOHWKHGHIHQGDQWOLYHVZLWK WKHGHIHQGDQWPXVWQRWLI\WKH
         SUREDWLRQRIILFHUDWOHDVWFDOHQGDUGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXH
         WR XQDQWLFLSDWHG FLUFXPVWDQFHV WKH GHIHQGDQW PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV RI EHFRPLQJ DZDUH RI D
         FKDQJHRUH[SHFWHGFKDQJH

        7KHGHIHQGDQWPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLWWKHGHIHQGDQWDWUHDVRQDEOHWLPHVDWKLVRUKHUKRPHRUHOVHZKHUHDQG
          WKHGHIHQGDQWPXVWSHUPLWWKHSUREDWLRQRIILFHUWRWDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRIWKHGHIHQGDQW¶VVXSHUYLVLRQ
          WKDWKHRUVKHREVHUYHVLQSODLQYLHZ

       7KHGHIHQGDQWPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHU
         H[FXVHVWKHGHIHQGDQWIURPGRLQJVR,IWKHGHIHQGDQWGRHVQRWKDYHIXOOWLPHHPSOR\PHQWKHRUVKHPXVWWU\WRILQGIXOOWLPH
         HPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHVWKHGHIHQGDQWIURPGRLQJVR,IWKHGHIHQGDQWSODQVWRFKDQJHZKHUHWKH
         GHIHQGDQWZRUNVRUDQ\WKLQJDERXWKLVRUKHUZRUN VXFKDVWKHSRVLWLRQRUWKHMREUHVSRQVLELOLWLHV WKHGHIHQGDQWPXVWQRWLI\
         WKHSUREDWLRQRIILFHUDWOHDVWFDOHQGDUGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOH
         GXHWRXQDQWLFLSDWHGFLUFXPVWDQFHVWKHGHIHQGDQWPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRIEHFRPLQJDZDUHRID
         FKDQJHRUH[SHFWHGFKDQJH

       7KHGHIHQGDQWPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQHWKHGHIHQGDQWNQRZVLVHQJDJHGLQFULPLQDODFWLYLW\,IWKH
         GHIHQGDQWNQRZVVRPHRQHKDVEHHQFRQYLFWHGRIDIHORQ\WKHGHIHQGDQWPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWK
         WKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHSUREDWLRQRIILFHU

       ,I WKH GHIHQGDQW LV DUUHVWHG RU KDV DQ\ RIILFLDO FRQWDFW ZLWK D ODZ HQIRUFHPHQW RIILFHU LQ D FLYLO RU FULPLQDO LQYHVWLJDWLYH
         FDSDFLW\WKHGHIHQGDQWPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV

       7KHGHIHQGDQWPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRU
         LQIRUPDQWZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW

       7KHGHIHQGDQWPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ
            Case 2:15-cr-00069-RMP                     ECF No. 151   filed 08/30/16       PageID.590 Page 5 of 7
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                  -XGJPHQW²3DJH     5     RI       7
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&$6(180%(5 2:15CR00069-RMP-2

                                         SPECIAL CONDITIONS OF SUPERVISION
 (19) The defendant is prohibited from returning to the United States without advance legal permission from the United States Attorney
 General or his designee. Should the defendant reenter the United States, the defendant is required to report to the probation office
 within 72 hours of reentry.
              Case 2:15-cr-00069-RMP                   ECF No. 151        filed 08/30/16        PageID.591 Page 6 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      6      RI         7
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                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                    Fine                                  Restitution
TOTALS                $100.00                                       $0.00                                 $0.00


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO           $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                        Total Loss*          Restitution Ordered        Priority or Percentage




TOTALS                                                    0.00                                  0.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
               Case 2:15-cr-00069-RMP                    ECF No. 151         filed 08/30/16       PageID.592 Page 7 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH      7     RI       7
'()(1'$17 JOSE J MANJARES MARMOLEJO
&$6(180%(5 2:15CR00069-RMP-2

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A     ✔ /XPSVXPSD\PHQWRI 100.00
      G                                                       GXHLPPHGLDWHO\EDODQFHGXH

           G     QRWODWHUWKDQ                                   RU
           G     LQDFFRUGDQFH           G &          G '   G     (RU    G )EHORZRU
B     G    3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK              G &     G 'RU     G )EHORZ RU
C     G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D     G    3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E     G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F     G    6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV




8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
)LQDQFH32%R[6SRNDQH:$

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G     -RLQWDQG6HYHUDO

      'HIHQGDQWDQG&R'HIHQGDQWV1DPHVDQG&DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU 7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G     7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G     7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

G     7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
